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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

GAIL BEMBNISTER and KATE                     )
FLYNN, individuals,                          )
                                             )
       Plaintiffs,                           )
               v.                            )      Case No.:
                                             )
WILL COUNTY and the WILL                     )
COUNTY PUBLIC DEFENDER’S                     )
OFFICE, a municipal corporation, and         )
FRANK ASTRELLA, individually,                )
                                             )
       Defendants.                           )


                                     COMPLAINT AT LAW


       NOW COME, Plaintiffs, GAIL BEMBNISTER and KATE FLYNN, individually, by and

through their attorneys, Seth R. Halpern and Meredith W. Buckley of MALKINSON &

HALPERN, P.C., and complain of the Defendants WILL COUNTY and the WILL COUNTY

PUBLIC DEFENDER’S OFFICE and FRANK ASTRELLA, in his individual capacity, as

follows:

       I.      Nature of the case:

       1.      Plaintiff, Gail Bembnister (hereinafter “Bembnister” or “Plaintiff”) and Kate

Flynn (hereinafter “Flynn” or “Plaintiff”) are currently and were at all relevant times employed

as Assistant Public Defenders in the Will County Public Defender’s Office. Bembnister and

Flynn were, at all times relevant, under the supervision of Defendant Frank Astrella (hereinafter

“Astrella” or “Defendant”), the Will County Public Defender.

       2.      This is an individual action brought by Bembnister and Flynn for violations of

Title VII of the Civil Rights Act of 1964 (“Title VII”), as amended, 42 U.S.C. § 2000e et seq, the
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First and Fourteenth Amendment of the United States Constitution and 42 U.S.C. § 1983

(hereinafter § 1983) and by Plaintiff Flynn under the Americans with Disabilities Act, 42 U.S.C.

§ 12101 et seq. (hereinafter “A.D.A.”).

        3.      Plaintiffs allege violations based on sexual harassment, retaliation for reporting

and participating in a sexual harassment investigation, and additionally, as to Plaintiff Flynn,

pregnancy discrimination and failure to accommodate for a known disability.

        4.      Plaintiffs, who are still currently employed as Assistant Public Defenders in the

Will County Public Defender’s Office, have requested that the retaliation and unlawful

employment practices stop and have complained to various supervisory staff within the Will

County Public Defender’s Office, including but not limited to, Defendant Astrella, Misdemeanor

Supervisor Jaya Varghese, Felony Supervisor Greg DeBord, Will County Circuit Court Chief

Judge Kinney and his Court Administrator Kurt Sangmeister, as well as their Union

representatives. Plaintiffs’ complaints have been unsuccessful and the unlawful employment

practices continue within the Will County Public Defender’s Office.

        5.      As a result of Defendants’ conduct, Plaintiffs’ careers have suffered and they have

been denied opportunities for advancement and they have suffered, and continue to suffer,

significant emotional distress. Plaintiffs seek declaratory and injunctive relief, compensatory and

punitive damages, attorney’s fees and costs and other appropriate legal and equitable relief.

        II.     Jurisdiction and Venue

        6.      This Court has jurisdiction of this case pursuant to 42 U.S.C. § 1983, 42 U.S.C. §

2000e et seq., and 42 U.S.C. § 12101 et seq.

        7.      This action properly lies in this district pursuant to 28 U.S.C. § 1391 because the

claims arose in this judicial district.



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       III.    Procedural Requirements

       8.      Plaintiffs Bembnister and Flynn have complied with all administrative

prerequisites by filing with the Equal Employment Opportunity Commission (“EEOC”) timely

Charges and Amended Charges of Discrimination based on sexual harassment and retaliation by

Plaintiff Bembnister and charges based on retaliation, pregnancy discrimination and failure to

accommodate for a known disability by Plaintiff Flynn.

       9.      On August 5, 2014, John P. Rowe, District Director of the EEOC issued a Notice

of Right to Sue for Plaintiff Flynn’s Charges of Discrimination. On September 4, 2014, the

United States Department of Justice, which was referred Plaintiff’s Bembnister EEOC Charges,

issued a Notice of Right to Sue for Plaintiff Bembnister’s Charges of Discrimination. A copy of

the Charges of Discrimination and Notices of Right to Sue are attached as Group Exhibit A.

       IV.     Parties

               a.        Plaintiffs

       10.     Plaintiff, Gail Bembnister, is a female citizen of the United States of America and

presently and at all relevant times, resides in the City of Joliet, County of Will, State of Illinois.

Plaintiff Bembnister, an attorney, was hired as an Assistant Public Defender by Defendants in

May of 2008 and has continually, including up through the filing of this Complaint, been

employed in such position.

       11.     At all times, Plaintiff Bembnister has and continues to perform her job

satisfactorily and to the reasonable business expectations of her employers, Will County and the

Will County Public Defender’s Office.

       12.     Plaintiff, Kate Flynn, is a female citizen of the United States of America and

presently and at all relevant times resides in the City of New Lenox, County of Will, State of



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Illinois. Plaintiff Flynn, an attorney, was hired as an assistant public defender by Defendants in

June of 2008 and has continually, including up through the filing of this Complaint, been

employed in such position.

       13.      At all times, Plaintiff Flynn has and continues to perform her job satisfactorily

and to the reasonable business expectations of her employers, Will County and the Will County

Public Defender’s Office.

       14.     Plaintiffs Bembnister and Flynn, at all times relevant to this Complaint were, and

remain, employees of Defendant Will County and the Will County Public Defender’s Office as

defined by Title VII, 42 U.S.C. § 2000e(f). Plaintiff Flynn was also an employee as defined by

the A.D.A., 42 U.S.C. § 12111(4).

       15.     Plaintiffs Bembnister and Flynn file this matter jointly in the interest of judicial

economy and pursuant to Rule 20 of the Federal Rules of Civil Procedure, as their claims arise

out of the same and/or similar series of occurrences and the questions of law and fact that will

arise in this matter are common to all parties.

       b.      Defendants

       16.     Defendant Will County is a municipal corporation, operated by departments, one

of which being the Will County Public Defender’s Office. The Will County Public Defender’s

Office functions under the Chief Judge of the 12th Judicial Circuit and the Public Defenders

operate two offices, one located “downtown” at 58 E. Clinton Street in Joliet, Illinois, and the

other located in “River Valley” 3202 W. McDonough Street in Joliet, Illinois.

       17.     The “downtown” office handles primarily misdemeanor and felony cases. The

“River Valley” office handles primarily juvenile and abuse and neglect cases. Felony jury trials

are exclusively conducted at the “downtown” office and do not occur at “River Valley.”



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        18.     At all times relevant, Defendant Will County and the Will County Public

Defender’s Office were employers as defined by Title VII, 42 U.S.C. § 2000e(b) and the A.D.A.,

42 U.S.C. §12111(5)(A).

        19.     Defendant Astrella was appointed Public Defender for Will County in September

of 2008, a few months after the hiring of Plaintiffs Bembnister and Flynn. At all times relevant,

Defendant Astrella was and remains Plaintiffs’ supervisor. Defendant Astrella possessed and

was delegated final policymaking authority for personnel issues arising within the Will County

Public Defender’s Office and made final decisions regarding promotions and transfers of

Assistant Public Defenders employed by Will County.

        20.     Defendant Will County and the Will County Public Defender’s Office and

Defendant Astrella are responsible for the acts of its command staff and supervisors, acting

within the scope of their employment and pursuant to policy, custom and/or practice. Defendant

Will County and the Will County Public Defender’s Office and Defendant Astrella committed

and allowed acts of sexual harassment, pregnancy discrimination, retaliation, failure to

accommodate and violations of the rights of freedom of speech under the First Amendment and

equal protection under the Fourteenth Amendment of the Constitution of the United States of

America and § 1983, as complained of herein.

        21.     Defendant Astrella, during all times relevant to this Complaint, acted under color

of law, had final policy making authority and had personal involvement in the deprivation of

Plaintiffs’ Constitutional rights, as set forth herein.

        22.     Plaintiffs’ claims against Defendant Astrella are being brought against him in his

individual capacity.




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                V.     Factual Allegations

                a.     Sexual Harassment, Report and Investigation

          23.   Plaintiff Bembnister was hired as an Assistant Public Defender in May of 2008.

Plaintiff Flynn was hired as an Assistant Public Defender one month later in June of 2008. Both

Bembnister and Flynn were assigned to the misdemeanor division at the “downtown” Joliet

office.

          24.   Plaintiffs Bembnister and Flynn, at all times relevant, performed their job in a

satisfactory manner and successfully fulfilled their duties as Assistant Public Defenders for the

community of Will County and the Office of the Public Defender.

          25.   Defendant Frank Astrella was appointed as the Will County Public Defender in or

around September of 2008.

          26.   Throughout Plaintiffs’ employment, Defendant Astrella would make sexually

derogatory and inappropriate comments in the workplace.

          27.   Defendant Astrella, in the presence of Plaintiff Bembnister or at times directed to

Plaintiff Bembnister, made sexually derogatory and inappropriate comments, including but not

limited to:

                i.     making sexually suggestive comments about females’ clothing;

                ii.    making sexually suggestive comments about females’ bodies;

                iii.   making lewd and inappropriate comments related to and about sex;

                iv.     inquiries into employees’ intimate sexual lives and histories; and

                v.     making flirtatious comments to female employees and State’s Attorneys.

          28.   Plaintiff Flynn witnessed or was a direct recipient of Defendant Astrella’s

sexually derogatory and inappropriate comments that included, but are not limited to:



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                i.      making sexually suggestive comments about females’ clothing;

                ii.     making sexually suggestive comments about females’ bodies;

                iii.     inquiries into employees’ intimate sexual lives and histories; and

                iv.     making flirtatious comments to female employees and State’s Attorneys.

        29.     Plaintiffs Bembnister and Flynn dismissed Defendant Astrella’s comments and

made it known that they believed Defendant Astrella’s               comments and actions were

inappropriate and unwelcomed.

        30.     Defendant Astrella favored employees that put up with his inappropriate

comments and behavior and when Plaintiffs Bembnister and Flynn voiced their disapproval of

said comments and behavior, Defendant Astrella and his staff quickly began to exhibit disfavor

to both.

        31.     On or around March 29, 2012, Plaintiff Bembnister made a written complaint

about Defendant Astrella’s sexually harassing and inappropriate behavior, as well as the hostile

work environment created by his actions, to Chief Judge Kinney, the then acting Chief Judge of

the 12th Judicial District.

        32.     Will County Court Administrator Kurt Sangmeister allegedly conducted an

investigation in response to Plaintiff Bembnister’s report of sexual harassment and hostile work

environment. Mr. Sangmeister met with Plaintiff Flynn in response to Plaintiff Bembnister’s

complaints. Plaintiff Flynn confirmed and corroborated the sexually harassing and inappropriate

behaviors of Defendant Astrella, as well as the hostile work environment that existed as a result

of Defendant Astrella’s actions.

        33.     On April 10, 2012, Mr. Sangmeister sent a letter to Plaintiff Bembnister

confirming that Defendant Astrella “did violate office policy and standards regarding acceptable



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work place behavior” and that the Office of the Chief Judge “does not condone any form of

inappropriate behavior which creates a hostile work environment which certainly occurred in

several instances you outlined in your letter.” The letter went on to state that the Office of the

Chief Judge had addressed the allegations with Defendant Astrella and they considered the

matter closed.

        34.      Upon information and belief, no disciplinary action was taken against Defendant

Astrella by Defendant Will County or the Will County Public Defender’s Office.

        35.      After Bembnister’s report and Flynn’s corroboration, Defendant Astrella and his

staff subjected Plaintiffs to retaliatory behavior, including but not limited to:

                 i.       subjecting Plaintiffs to harsher and different disciplinary standards then
                          their similarly situatated counterparts;

                 ii.      subjecting Plaintiffs to different and more negative terms and conditions
                          of employment than their similarly situated counterparts;

                 iii.     ostracizing and isolating Plaintiffs and creating an uncomfortable work
                          environment;

                 iv.      limiting Plaintiffs’ opportunities for advancement by restricting their
                          felony jury trials; and

                 v.    moving Plaintiffs’ offices in order to keep an eye on the problem
                 employees.

        36.      On or about September 21, 2012, Plaintiff Bembnister met with Court

Administrator Sangmeister to discuss Defendant Astrella’s retaliatory actions. Defendants took

no action in response to Plaintiff Bembnister’s complaints of unlawful retaliation by Defendant

Astrella and his staff.

        b.       River Valley Transfers

        37.      In December of 2012, Plaintiff Bembnister was notified that she was going to be

transferred to “River Valley” in January of 2013..

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       38.     In December ofof 2013, Plaintiff Flynn was notified that she was going to be

transferred to “River Valley” in Janaury of 2014.

       39.     A transfer to River Valley is a well-known punitive assignment that presents little

or no chance for advancement within the Will County Public Defender’s Office.

       40.     “River Valley” Assistant Public Defenders’ opportunities for felony jury trials and

felony criminal litigation practice are vastly limited compared to the “downtown” Assistant

Public Defenders asno felony jury trial are conducted at “River Valley”.

       41.     Felony jury trial experience is important for advancement within the Will County

Public Defender’s Office, as well as career development.

       42.     Plaintiffs Bembnister’s and Flynn’s transfers to River Valley were not in the best

interest of the Office of the Public Defender, rather, such transfers were retaliatory in nature for

their complaints and corroboration of sexual harassment.

       43.     Plaintiffs continually applied for available positions in the “downtown” office

after their transfers to River Valley and were continually denied such positions.

       c.      Plaintiff Flynn’s Pregnancy

       44.     Beginning in or around November of 2011, Defendant Astrella began to

continually make derogatory statements about pregnancy in the workplace, including but not

limited to:

               i.      stating he did not like when Assistant public Defenders got pregnant and
                       took maternity leave;

               ii.     stating to Plaintiff Flynn that she “better not get pregnant;”

               iii.    expressing irritation with the scheduling and case assignment changes that
                       had to be made when an Assistant Public Defender went on maternity
                       leave; and

               iv.     making it clear that negative employment actions would result if an

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                        Assistant Public Defender was to get pregnant and take her entitled
                        maternity leave.

       45.       In or around July of 2013, Plaintiff Flynn notified misdemeanor supervisor, Jaya

Varghese, that she intended to become pregnant and was undergoing fertility treatments. On or

around October 31, 2013, Plaintiff Flynn notified Defendant Astrella and felony supervisor, Greg

DeBord that she was, in fact, pregnant.

       46.       On December 20, 2013, Plaintiff Flynn was notified she was being transferred to

River Valley.

       d.        Plaintiff Flynn’s disability and request for a reasonable accommodation

       47.       Plaintiff Flynn suffers from a seizure disorder that is controlled by medication.

       48.       In early September of 2012, Plaintiff Flynn was weaned off seizure medication at

the direction of her physicians because she was trying to become pregnant.

       49.       When unable to take her seizure medication, her seizures are triggered by fatigue

and/or hunger.      Plaintiff Flynn, when not on her seizure medication, attempts to avoid long

periods without eating or long periods without rest.

       50.       In September of 2013, Plaintiff Flynn was assigned to a courtroom with a court

call that would not allow the Assistant Public Defenders to take a break until 2:30 p.m. or 3:00

p.m. on a frequent and continuous basis.

       51.       Concerned about her health and the health of her baby, on or about November 12,

2013, Plaintiff Flynn spoke to her supervisors, Defendant Astrella, Greg DeBord and Jaya

Varghese, and requested a reasonable accommodation, that she be provided with a reasonable

lunch break during the work day. No accommodations were provided in response to this request.

       52.       On or about November 18, 2013, Plaintiff Flynn provided Defendant Astrella,

Greg DeBord, Jaya Varghese and Leslie Fabrizo with a note from her doctor setting forth that

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she was pregnant, unable to take her seizure medication and required a reasonable lunch break

during her work day. No accommodation was provided in response to this request.



       e.      Failure to Promote

       53.     Prior to Plaintiff Bembnister’s report of Defendant Astrella’s sexually harassing

behavior, and Plaintiff Flynn’s corroboration of such harassment and Plaintiff’s Flynn

pregnancy, promotions from the misdemeanor to the felony department were based on seniority,

such that the most senior misdemeanor Assistant Public Defender was promoted to the felony

division when a position became available.

       54.     On or about February 21, 2014, subsequent to Plaintiff Bembnister’s report of

sexual harassment, Plaintiff Flynn’s corroboration of such sexual harassment and notification of

her pregnancy, and subsequent to Plaintiffs’ filing of Charges of Discrimination with the EEOC,

a felony position became available “downtown” at the Will County Public Defender’s Office.

       55.     Plaintiffs Bembnister and Flynn, being the most senior misdemeanor Assistant

Public Defenders, applied for and were qualified for such positions; however, again, a less senior

public defender was given this “downtown” felony promotion.

       56.     On or about April 15, 2014, a misdemeanor public defender position became

available at the “downtown” office.

       57.     Plaintiff Bembnister and Flynn applied for and were certainly qualified for this

misdemeanor position, as they were the most senior misdemeanor Assistant Public Defenders,

however, they were not offered this position.

       58.     In June of 2014, another misdemeanor public defender position became available

at the “downtown” office.



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        59.     Plaintiff Bembnister and Flynn applied for this position, and again, they were not

offered this position.

        60.     In October of 2014, yet another misdemeanor public defender position became

available at the “downtown” office.

        61.     Plaintiff Bembnister and Flynn applied for this position, and yet again, they were

not offered this position.

        62.     Throughout this time, following their reports and corroboration of sexual

harassment, Plaintiff Bembnister and Flynn continually and repeatedly requested felony jury trial

assignment. All of Plaintiffs’ requests were denied, however, less senior misdemeanor public

defenders were offered felony jury trial assignments.

        63.      Defendants denial of promotions, lateral moves and felony jury trial experience

that would further Plaintiffs’ careers were discriminatory and retaliatory in nature for Plaintiffs’

complaints and corroboration of sexual harassment, Plaintiffs’ Charges of Discrimination, and as

to Plaintiff Flynn, additional because of her pregnancy.

                                          COUNT I
   Plaintiff Bembnister v. Defendant Will County and the Will County Public Defender’s
                                            Office
                               Title VII - Sexual Harassment


        1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

        64. Throughout Plaintiff Bembnister’s employment, Defendant Astrella would make

sexually derogatory and inappropriate comments in the workplace in her presence and at times

directed towards Plaintiff Bembnister, including but not limited to:

                i.        making sexually suggestive comments about females’ clothing;



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               ii.    making sexually suggestive comments about females’ bodies;

               iii.   making lewd and inappropriate comments related to and about sex;

               iv.    inquiries into employees’ intimate sexual lives and histories; and

               v.     making flirtatious comments to female employees.

       65.     The foregoing constitutes impermissible sexual harassment in violation of Title

VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.

       66.     Plaintiff Bembnister made it known that Defendant’s Astrella’s comments were

unwelcomed.

       67.     Plaintiff Bembnister complained to management, including the Chief Judge of the

12th Judicial Circuit, Judge Kinney, and Court Administrator, Kurt Sangmeister, about

Defendant’s Astrella’s unwelcomed and sexually harassing comments; however, upon

information and belief, Defendant Astrella was not disciplined for his actions.

       68.     Defendant Astrella’s sexually harassing behavior created a hostile work

environment.

       69.     Defendant Will County and the Will County Public Defender’s Office course of

conduct showed a disregard to Plaintiff Bembnister’s right to have an employment free from

unlawful sexual harassment.

       70.     As a result of Defendant’s unlawful employment practices complained of herein,

Plaintiff Bembnister suffered, and continues to suffer, from severe emotional distress,

embarrassment, mental anguish and humiliation.

       WHEREFORE, Plaintiff Bembnister, respectfully prays that this Court enter an Order:

       (a)     Declaring the conduct of Defendant Will County and the Will County Public
               Defender’s Office and its agents/employees, as described herein, is in violation of
               Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.;



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        (b)     Awarding Plaintiff Bembnister compensatory damages;

        (c)     Awarding Plaintiff Bembnister reasonable attorneys’ fees and costs under 42
                U.S.C. § 2000e-5(k); and

        (d)     Permanently enjoining and restraining Defendants from, in any manner:

                               i)     allowing and permitting sexual harassment and gender
                                      discrimination in the work environment; and

                               ii)    retaliating against Plaintiff Bembnister for complaining
                                      about sexual harassment and gender discrimination.


                                          COUNT II
   Plaintiff Bembnister v. Defendant Will County and the Will County Public Defender’s
                                           Office
                            Title VII - Impermissible Retaliation

        1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

        64.     Plaintiff Bembnister dismissed Defendant’s Astrella’s comments and made it

known that his comments were unwelcome.

        65.     Plaintiff Bembnister complained to management, including the Chief Judge of the

12th Judicial Circuit, Judge Kinney, and Court Administrator, Kurt Sangmeister, about

Defendant’s Astrella’s unwelcomed and sexually harassing comments and participated in

Defendant Will County’s supposed investigation of Defendant Astrella’s harassing behavior.

        66.     As a result of Defendant Astrella and Defendant Will County’s unlawful

employment actions, Plaintiff Bembnister filed Charges of Discrimination alleging sexual

harassment and retaliation with the Equal Employment Opportunity Commission.

        67.     Plaintiff Bembnister’s internal complaints and Charges of Discrimination are

protected activities under Title VII of the Civil Rights Act.




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       68.     After Plaintiff Bembnister’s above mentioned protected activities, Defendant

Astrella and his staff subjected Plaintiff Bembnister to retaliatory behavior, including but not

limited to:

               i.      subjecting Plaintiff Bembnister to harsher and different disciplinary
                       standards then their similarly situated counterparts;

               ii.     subjecting Plaintiff Bembnister to different and more negative terms and
                       conditions of employment than their similarly situated counterparts;

               iii.    ostracizing and isolating Plaintiff       Bembnister    and   creating     an
                       uncomfortable work environment;

               iv.     limiting Plaintiff Bembnister’s opportunities for advancement by
                       restricting her felony jury trials; and

               v.      moving Plaintiff Bembnister’s offices in order to keep an eye on the
                       problem employees;

               vi.     transferring Plaintiff Bembnister to River Valley, a well-known punitive
                       assignment;
               vii.    denying Plaintiff Bembnister lateral positions that would lead to career
                       advancement; and

               viii.   denying Plaintiff Bembnister promotions to the felony division.

       69.     The foregoing constitutes impermissible retaliation in violation of Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-2(a).

       70.     Defendant Will County and the Will County Public Defender’s Office behaviors

and course of conduct showed a disregard to Plaintiff Bembnister’s right to have an employment

free from impermissible retaliation for protected activities.

       71.     As a result of Defendant’s unlawful employment practices complained of herein,

Plaintiff Bembnister experienced, and continue to experience, lost wages and benefits from

promotions and lost opportunities for career advancement and has suffered and continue to suffer

from severe emotional distress, embarrassment, mental anguish and humiliation.



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        WHEREFORE, Plaintiff Bembnister, respectfully prays that this Court enter an Order:

        (a)     Declaring the conduct of Defendant Will County and the Will County Public
                Defender’s Office and its agents/employees as described herein, is in violation of
                Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.;

        (b)     Awarding Plaintiff Bembnister the back pay and benefits, with interest, front pay
                and future pecuniary losses she suffered as a result of Defendant’s conduct;

        (c)     Awarding Plaintiff Bembnister compensatory damages;

        (d)     Awarding Plaintiff Bembnister reasonable attorneys’ fees and costs
                under 42 U.S.C. § 2000e-5(k); and

        (e)     Permanently enjoining and restraining Defendants from, in any manner:

                              i)         allowing and permitting unlawful retaliation for protected
                                         activities; and

                                   ii)   retaliating against Plaintiff Bembister for complaining
                                         about unlawful retaliation.


                                        COUNT III
  Plaintiff Flynn v. Defendant Will County and the Will County Public Defender’s Office
                           Title VII - Impermissible Retaliation

        1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

        64.     Plaintiff Flynn participated in Defendant Will County’s investigation of

Defendant’s Astrella sexually harassing behavior and corroborated such unlawful actions.

        65.     In response to Defendants’ retaliatory employment actions as a result of

Plaintiff’s participation of and corroboration of sexual harassment, Plaintiff Flynn filed Charges

of Discrimination alleging impermissible retaliation.

        66.     Plaintiff Flynn participation in a sexual harassment investigation and filing

Charges of Discrimination are protected activities under Title VII of the Civil Rights Act.




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       67.     After Plaintiff Flynn’s above mentioned protected activities, Defendant Astrella

and his staff subjected Plaintiff Flynn to retaliatory behavior, including but not limited to:

               i.      subjecting Plaintiff Flynn to harsher and different disciplinary standards
                       then their similarly situated counterparts;

               ii.     subjecting Plaintiff Flynn to different and more negative terms and
                       conditions of employment than their similarly situated counterparts;

               iii.    ostracizing and isolating Plaintiff Flynn and creating an uncomfortable
                       work environment;

               iv.     limiting Plaintiff Flynn’s opportunities for advancement by restricting her
                       felony jury trials;

               v.      moving Plaintiff Flynn’s offices in order to keep an eye on the problem
                       employees;

               vi.     transferring Plaintiff Flynn to River Valley, a well-known punitive
                       assignment;

               vii.    denying Plaintiff Flynn lateral positions that would lead to career
                       advancement; and

               viii.   denying Plaintiff Flynn promotions to the felony division.

       68.     The foregoing constitutes impermissible retaliation in violation of Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-2(a).

       69.     Defendant Will County and the Will County Public Defender’s Office’s behaviors

and course of conduct showed a disregard to Plaintiff Flynn’s right to have an employment free

from impermissible retaliation for protected activities.

       70.     As a result of Defendant’s unlawful employment practices complained of herein,

Plaintiff Flynn experienced, and continue to experience, lost wages and benefits from promotions

and lost opportunities for career advancement and has suffered, and continues to suffer, from

severe emotional distress, embarrassment, mental anguish and humiliation.




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WHEREFORE, Plaintiff Flynn , respectfully prays that this Court enter an Order:

        (a)     Declaring the conduct of Defendant Will County and the Will County Public
                Defender’s Office and its agents/employees, as described herein, is in violation of
                Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.;

        (b)     Awarding Plaintiff Flynn the back pay and benefits, with interest, front pay and
                future pecuniary losses she suffered as a result of Defendant’s conduct;

        (c)     Awarding Plaintiff Flynn compensatory damages;

        (d)    Awarding Plaintiff Flynn reasonable attorneys’ fees and costs
        under 42 U.S.C. § 2000e-5(k); and

        (e)     Permanently enjoining and restraining Defendants from, in any manner:

                                 i)      allowing and permitting unlawful retaliation for protected
                                         activities; and

                                  ii)   retaliating against Plaintiff Flynn for complaining about
                                          unlawful retaliation.

                                        COUNT IV
  Plaintiff Flynn v. Defendant Will County and the Will County Public Defender’s Office
                           Title VII – Pregnancy Discrimination


        1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

        64.     As set forth herein, Defendant Astrella, beginning in or around November of
2011, continually made derogatory statements about pregnancy in the workplace, including but
not limited to:
                i.     stating he did not like when Assistant public Defenders got pregnant and
                       took maternity leave;

                ii.       stating to Plaintiff Flynn that she “better not get pregnant;”

                iii.      expressing irritation with the scheduling and case assignment changes that
                          had to be made when an Assistant Public Defender went on maternity
                          leave; and

                iv.       making it clear that negative employment actions would result if an
                          Assistant Public Defender was to get pregnant and take her entitled
                          maternity leave.

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       65.    Plaintiff Flynn notified her Defendant Astrella and his supervisory staff that she

was pregnant inOctober of 2013.

       66.    Immediately following her report of her pregnancy, Plaintiff Flynn was

transferred to River Valley, a well-known punitive assignment.

       67.    The foregoing constitutes impermissible pregnancy discrimination in violation of

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.

       68.    Defendant Astrella and Defendant Will County and the Will County Public

Defenders Office course of conduct showed a disregard to Plaintiff Flynn’s right to have an

employment free from unlawful pregnancy discrimination.

       69.    As a result of Defendants unlawful employment practices complained of herein,

Plaintiff Flynn experienced, and continues to experience, lost wages and benefits from

promotions and lost opportunities for career advancement and suffered, and continues to suffer,

from severe emotional distress, embarrassment, mental anguish and humiliation.

       WHEREFORE, Plaintiff Flynn, respectfully prays that this Court enter an Order:

        (a)   Declaring the conduct of Defendant Will County and the Will County
              Public Defender’s Office and its agents/employees, as described herein, is in
              violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
              2000e et seq.;

       (b)    Awarding Plaintiff Flynn the back pay and benefits, with interest, front pay and
              future pecuniary losses she has suffered as a result of Defendant Will County and
              the Will County Public Defenders Office’s conduct;

       (c)    Awarding Plaintiff Flynn compensatory damages;

       (d)    Awarding Plaintiff Flynn reasonable attorneys’ fees and costs under 42
              U.S.C. § 2000e-5(k); and

       (e)    Permanently enjoining and restraining Defendants from, in any manner:




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                               i)     allowing and permitting pregnancy discrimination in the
                                      work environment; and

                               ii)    retaliating against Plaintiff Flynn for complaining about
                                      pregnancy discrimination.

                                         COUNT V
        Plaintiff Flynn v. Will County and the Will County Public Defender’s Office
                               ADA – Failure to Accommodate

        1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

        64.     As set forth herein, beginning on or around November 13, 2013, and continuing

up through approximately May 5, 2014, in violation of the Americans with Disability Act

(“ADA”), 42 U.S.C. § 12201, et seq., Defendants failed to provide Plaintiff Flynn her requested

reasonable accommodation for her known disability, a seizure disorder.

        65.     In ignoring Plaintiff’s requests for a reasonable accommodation, Defendants

maliciously and/or recklessly violated the ADA.

        66.     Plaintiff has been damaged by Defendants’ violation of the ADA inasmuch as she

suffered severe emotional distress, embarrassment, mental anguish and humiliation in being

forced to work, while pregnant, without such her requested reasonable accommodations

subjecting herself and her baby to unnecessary health risks.

        WHEREFORE, Plaintiff Flynn, respectfully prays that this Court enter an Order:

        (a)     Declaring the conduct of Defendant Will County and the Will County Public
                Defender’s Office and its agents/employees, as described herein, is in violation of
                the Americans with Disabilities Act, 42 U.S.C. § 12201 et seq.

        (b)     Awarding Plaintiff Flynn compensatory damages;

        (c)     Awarding Plaintiff Flynn reasonable attorneys’ fees and costs under 42 U.S.C. §
                12205; and

        (d)     Permanently enjoining and restraining Defendants from, in any manner:

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                                i)      failing to provide reasonable accommodations as set forth
                                        in the Americans with Disabilities Act; and

                                ii)     retaliating against Plaintiff Flynn for complaining about
                                        Defendants’ failure to accommodate.

                                        COUNT VI
   Plaintiff Bembnister v. Defendant Will County and the Will County Public Defender’s
                                           Office
                                § 1983 – Sexual Harassment

          1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

          64.    Defendant Will County and the Will County Public Defender’s Office empowered

Defendant Astrella and his supervisory staff to establish a hostile work environment of persistent

sexual harassment by placing Defendant Astrella in a position to establish a pattern and practice

of sexual harassment at the Will County Public Defender’s Office and by failing to monitor

Defendant Astrella’s activities in a manner that would eliminate or prevent sexual harassment in

the workplace.

          65.    Defendant Will County and the Will County Public Defender’s Office empowered

Defendant Astrella with final policy making authority as it relates to the allegations set forth

herein.

          66.    Defendant Will County and the Will County Public Defender’s Office knew, or

should have known, that Plaintiff Bembnister was subjected to unlawful sexual harassment in the

work environment. Defendant Astrella and supervisors of Defendant Will County and the Will

County Public Defender’s Office had knowledge of Plaintiff’s complaints and acquiesced to the

sexual harassment and hostile work environment created by Defendant Astrella’s unlawful

pattern and practices.



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       67.     All of the actions taken against Plaintiff Bembnister by the Defendant or those

agents, servants and/or employees acting on behalf of the Defendant Will County and the Will

County Public Defender’s Office and referred to herein, including the sexual harassment and the

approving and condoning of these actions, was done by the Defendants while acting under color

of law and in their official capacity, and had the effect of depriving Plaintiff Bembnister’s rights

secured by the Constitution and laws of the United States, specifically the Fourteenth

Amendments, in violation of 42 U.S.C. §1983.

       68.     The actions of Defendants in intentionally engaging in and condoning unlawful

sexual harassment against Plaintiff Bembnister caused Plaintiff to suffer, and continue to suffer,

from severe emotional distress, embarrassment, mental anguish and humiliation.

       69.     The actions set forth herein of the Defendants were intentional, willful and

malicious and/or in reckless disregard for Plaintiff’s rights as secured by 42 U.S.C. § 1983.

       WHEREFORE, Plaintiff Bembnister, respectfully prays that this Court enter an Order:

       (a)     Declaring the conduct of Defendant Will County and the Will County Public
               Defenders Office, and its agents/employees as described herein, violated Plaintiff
               Bembnister’s Fourteenth Amendment Rights of the United States
               Constitution, in violation of §1983;

       (b)     Awarding Plaintiff Bembnister compensatory damages;

       (c)     Awarding Plaintiff Bembnister reasonable attorneys’ fees and costs; and

       (d)     Permanently enjoining and restraining Defendants from, in any manner:

                              i)      allowing and permitting violations of employees’
                                      Fourteenth Amendment rights in violation of §1983; and

                              ii)     retaliating against Plaintiff Bembnister for complaining
                                      about violations of their Fourteenth Amendment rights.




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                                         COUNT VI
               Plaintiff Bembnister v. Defendant Astrella (Individual Liability)
                                 § 1983 – Sexual Harassment

        1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

        64.     The aforementioned pattern and practice of sexual harassment and corresponding

deprivation of Plaintiff Bembnister’s constitutional rights, as set forth herein, was directly caused

and intended by Defendant Astrella.

        65.     At all times relevant, Defendant Astrella acted under color of law and was

empowered with final policy making authority as it relates to the allegations set forth herein.

        66.     The actions of Defendant Astrella in intentionally engaging in and condoning

unlawful sexual harassment against Plaintiff Bembnister caused Plaintiff to suffer, and continues

to suffer, from severe emotional distress, embarrassment, mental anguish and humiliation.

        67.     The actions set forth herein of the Defendant Astrella were intentional, willful and

malicious and/or in reckless disregard for Plaintiff’s rights as secured by 42 U.S.C. § 1983.

        WHEREFORE, Plaintiff Bembnister, respectfully prays that this Court enter an Order:

        (a)     Declaring the conduct of Defendant Astrella as described herein, violated
                Plaintiff Bembnister’s Fourteenth Amendment Rights of the United States
                Constitution, in violation of §1983;

        (b)     Awarding Plaintiff Bembnister compensatory and punitive damages;

        (c)     Awarding Plaintiff Bembnister reasonable attorneys’ fees and costs; and

        (d)     Permanently enjoining and restraining Defendants from, in any manner:

                               i)     allowing and permitting violations of employees’
                                      Fourteenth Amendment rights in violation of §1983

                               ii)    retaliating against Plaintiff Bembnister for complaining
                                      about violations of their Fourteenth Amendment rights.



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                                       COUNT VII
  Plaintiff Flynn v. Defendant Will County and the Will County Public Defender’s Office
                            § 1983 – Pregnancy Discrimination

          1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

          64.    Defendant Will County and the Will County Public Defender’s Office empowered

Defendant Astrella and his supervisory staff to discriminate against Plaintiff Flynn on the basis

of her pregnancy, as set forth herein, and failed to monitor Defendant Astrella’s activities in a

manner that would eliminate or prevent a pattern and practice of pregnancy discrimination in the

workplace.

          65.    Defendant Will County and the Will County Public Defender’s Office empowered

Defendant Astrella with the final policy making authority as it relates to the allegations set forth

herein.

          66.    Defendant Will County and the Will County Public Defender’s Office knew, or

should have known, that Plaintiff Flynn was subjected to unlawful pregnancy discrimination in

the work environment. Despite this, Defendant Will County failed to take any effective remedial

action.

          67.    All of the actions taken against Plaintiff Flynn by the Defendant Will County and

the Will County Public Defender’s Office, or those agents, servants and/or employees acting on

behalf of the Defendant, including the pregnancy discrimination and the approving and

condoning of these actions, was done by the Defendants while acting under color of law and in

their official capacity, and had the effect of depriving Plaintiff Flynn of rights secured by the

Constitution and laws of the United States, specifically the Fourteenth Amendments, in violation

of 42 U.S.C. §1983.



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        68.     The actions of Defendants in intentionally engaging in and condoning unlawful

pregnancy discrimination against Plaintiff Flynn caused Plaintiff to suffer lost wages and

benefits from promotions and lost opportunities for career advancement and to suffer, and

continues to suffer, from severe emotional distress, embarrassment, mental anguish and

humiliation.

        WHEREFORE, Plaintiff Flynn, respectfully prays that this Court enter an Order:

        (a)     Declaring the conduct of Defendant Will County and the Will County Public
                Defender’s Office, its agents, servants and employees, as described herein,
                violated Plaintiff Flynn’s Fourteenth Amendment Rights of the United States
                Constitution and is in violation of §1983;

        (b)     Awarding Plaintiff Flynn the back pay and benefits, with interest, front pay and
                future pecuniary losses she has suffered as a result of Defendant Will County and
                the Will County Public Defenders Office’s conduct; and

        (c)     Awarding Plaintiff Flynn compensatory damages;

        (d)     Awarding Plaintiff Flynn reasonable attorneys’ fees and costs; and

        (e)     Permanently enjoining and restraining Defendants from, in any manner:

                              i)      allowing and permitting violations of employees’
                                      Fourteenth Amendment rights in violation of §1983 ; and

                              ii)     retaliating against Plaintiff Flynn for complaining
                                      about violations of her Fourteenth Amendment rights.

                                           COUNT VIII
                   Plaintiff Flynn v. Defendant Astrella (Individual Liability)
                                § 1983 – Pregnancy Discrimination

        1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

        64.     The aforementioned pattern and practice of pregnancy discrimination, harassment

and corresponding deprivation of Plaintiff Flynn’s constitutional rights, as set forth herein, was

directly caused and intended by Defendant Astrella.

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        65.     At all times relevant, Defendant Astrella acted under color of law and was

empowered with final policy making authority as it relates to the allegations set forth herein.

        66.     The actions of Defendant Astrella in intentionally engaging in and condoning

unlawful pregnancy discrimination and harassment against Plaintiff Flynn caused Plaintiff to

suffer lost wages and benefits from promotions and lost opportunities for career advancement

and suffer, and continues to suffer, from severe emotional distress, embarrassment, mental

anguish and humiliation.

        67.     The actions set forth herein of the Defendant Astrella were intentional, willful and

malicious and/or in reckless disregard for Plaintiff’s rights as secured by 42 U.S.C. § 1983.

        WHEREFORE, Plaintiff Flynn, respectfully prays that this Court enter an Order:

        (a)     Declaring the conduct of Defendant Astrella as described herein, violated
                Plaintiff Flynn’s Fourteenth Amendment Rights of the United States
                Constitution and is in violation of §1983;

        (b)     Awarding Plaintiff Flynn compensatory and punitive damages;

        (c)     Awarding Plaintiff Flynn reasonable attorneys’ fees and costs; and

        (d)     Permanently enjoining and restraining Defendants from, in any manner:

                               i)      allowing and permitting violations of employees’
                                       Fourteenth Amendment rights in violation of §1983

                               ii)     retaliating against Plaintiff Flynn for complaining
                                       about violations of her Fourteenth Amendment rights.

                                       COUNT IX
   Plaintiff Bembnister v. Defendant Will County and the Will County Public Defender’s
                                          Office
                                   § 1983 – Retaliation

        1-63.    Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.




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       64.     Defendant Will County and the Will County Public Defender’s Office empowered

Defendant Astrella and his supervisory staff to engage in a pattern and practice of retaliation as a

result of Plaintiff Bembnister’s reporting and complaining of sexual harassment and filing of

Charges of Discrimination, including but not limited to:

               i.      subjecting Plaintiff Bembnister to harsher and different disciplinary
                       standards then their similarly situated counterparts;

               ii.     subjecting Plaintiff Bembnister to different and more negative terms and
                       conditions of employment than their similarly situated counterparts;

               iii.    ostracizing and isolating Plaintiff        Bembnister    and    creating   an
                       uncomfortable work environment;

               iv.     limiting Plaintiff Bembnister’s opportunities for advancement by
                       restricting her felony jury trials;

               v.      moving Plaintiff Bembnister’s offices in order to keep an eye on the
                       problem employees;

               vi.     transferring Plaintiff Bembnister to River Valley, a well-known punitive
                       assignment;

               vii.    denying Plaintiff Bembnister lateral positions that would lead to career
                       advancement; and

               viii.   denying Plaintiff Bembnister promotions to the felony division.

       65.     Defendant Will County and the Will County Public Defender’s Office knew or

should have known of such retaliation but took no action.

       66.     Defendant Will County and the Will County Public Defender’s Office conduct

toward Plaintiff Bembnister showed a willful and/or reckless disregard of Plaintiff's rights to

employment free from impermissible retaliatory conduct.

       67.     All of the actions taken against Plaintiff Bembnister by the Defendant Will

County and the Will County Public Defender’s Office, or those agents, servants and/or

employees acting on its behalf, and referred to herein, including those retaliatory adverse

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employment actions and the approving and condoning of these actions, was and continues to be

in retaliation for the exercise and/or the attempted exercise of Plaintiff Bembnister’s right to free

speech and press, in violation of the First Amendment, and/or because of Plaintiff's gender in

violation of her due process and equal protection rights under the Fourteenth Amendment.

       68.     Additionally, Defendant Will County and the Will County Public Defender’s

Office failed to implement any policy that it may purport to have to prevent and/or eliminate

impermissible retaliation for employees who complain about illegal sexual harassment and/or

retaliatory conduct at the Will County Public Defender’s Office.

       69.     The actions of the Defendants or those agents, servants and/or employees acting

on behalf of Will County and the Will County Public Defender’s Office, in failing to take any

immediate corrective action to prevent and/or prohibit instances impermissible retaliation against

Plaintiff Bembnister for speaking out about sexual harassment and retaliatory adverse

employment actions, were carried out by sufficiently high ranking officials of Will County and

the Will County Public Defender’s Office, acting under the color of law, and by those who either

possessed or had been delegated final policymaking authority for Will County and the Will

County Public Defender’s Office, including, but not limited Defendant Astrella. As such, these

actions set forth herein constitute policy, custom or practice of Will County and the Will County

Public Defender’s Office.

       70.     As a direct and proximate cause of Defendant Will County and the Will County’s

Public Defender’s Office systemic policy and/or custom of retaliation, Plaintiff Bembnister has

been and continues to be deprived of her rights, privileges and/or immunities secured by the

Constitution and laws, including but not limited to the First and Fourteenth Amendments, in

violation of 42 U.S.C. §1983.



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        71.     The aforementioned incidents created an intimidating, retaliating, and hostile and

offensive work environment for Plaintiff, by the Defendants, and therefore violated Plaintiff's

rights under the First and Fourteenth Amendments, in violation of 42 U.S.C. §1983.

        72.     The actions of Defendant Will County and the Will County Public Defender’s

Office in intentionally engaging in and condoning unlawful retaliatory adverse employment

actions against Plaintiff Bembnister caused Plaintiff to suffer and continue to suffer from lost

wages and benefits from promotions and lost opportunities for career advancement and suffer,

and continues to suffer, from severe emotional distress, embarrassment, mental anguish and

humiliation.

        WHEREFORE, Plaintiff Bembnister, respectfully prays that this Court enter an Order:

        (a)     Declaring the conduct of Defendant Will County and the Will County Public
                Defender’s Office, and its agents/employees as described herein, violated Plaintiff
                Bembnister’s First and Fourteenth Amendment Rights of the United States
                Constitution and is in violation of §1983;

        (b)     Awarding Plaintiff Bembnister compensatory damages;

        (c)     Awarding Plaintiff Bembnister reasonable attorneys’ fees and costs; and

        (d)     Permanently enjoining and restraining Defendants from, in any manner:

                               i)     allowing and permitting violations of employees’
                                      First and Fourteenth Amendment rights in violation of
                                      §1983; and

                               ii)    retaliating against Plaintiff Bembnister for complaining
                                      about violations of her First and Fourteenth Amendment
                                      rights.

                                           COUNT X
                    Plaintiff Bembnister v. Defendant Astrella (Individually)
                                      § 1983 – Retaliation

        1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

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       64.     The aforementioned pattern and practice of retaliation and corresponding

deprivation of Plaintiff Bembnister’s constitutional rights, as set forth herein, was directly caused

and intended by Defendant Astrella.

       65.     At all times relevant, Defendant Astrella acted under color of law and was

empowered with final policy making authority as it relates to the allegations set forth herein.

       66.     The actions of Defendant Astrella in intentionally engaging in and condoning

unlawful retaliation against Plaintiff Bembnister for reporting and complaining of sexual

harassment and filing Charges of Discrimination caused Plaintiff suffer lost wages and benefits

from promotions and lost opportunities for career advancement and suffer, and continues to

suffer, from severe emotional distress, embarrassment, mental anguish and humiliation.

       67.     The actions set forth herein of the Defendant Astrella were intentional, willful and

malicious and/or in reckless disregard for Plaintiff’s rights as secured by 42 U.S.C. § 1983.

       WHEREFORE, Plaintiff Bembnister, respectfully prays that this Court enter an Order:

       (a)     Declaring the conduct of Defendant Astrella as described herein, violated
               Plaintiff Bembnister’s First and Fourteenth Amendment Rights of the United
               States Constitution and is in violation of §1983;

       (b)     Awarding Plaintiff Bembnister compensatory and punitive damages;

       (c)     Awarding Plaintiff Bembnister reasonable attorneys’ fees and costs; and

       (d)     Permanently enjoining and restraining Defendants from, in any manner:

                               i)     allowing and permitting violations of employees’
                                      First and Fourteenth Amendment rights in violation of
                                      §1983; and

                               ii)    retaliating against Plaintiff Bembnister for complaining
                                      about violations of her First and Fourteenth Amendment
                                      rights.




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                                        COUNT XI
  Plaintiff Flynn v. Defendant Will County and the Will County Public Defender’s Office
                                    § 1983 – Retaliation

        1-63.    Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

        64.     Defendant Will County and the Will County Public Defender’s Office empowered

Defendant Astrella and his supervisory staff to engage in pattern and practice of retaliation as a

result of Plaintiff Flynn participation in an investigation of and corroborating reports of sexual

harassment and filing of Charges of Discrimination, including but not limited to:

                i.        subjecting Plaintiff Flynn to harsher and different disciplinary standards
                          then their similarly situated counterparts;

                ii.       subjecting Plaintiff Flynn to different and more negative terms and
                          conditions of employment than their similarly situated counterparts;

                iii.      ostracizing and isolating Plaintiff Flynn and creating an uncomfortable
                          work environment;

                iv.       limiting Plaintiff Flynn’s opportunities for advancement by restricting her
                          felony jury trials;

                v.        moving Plaintiff Flynn’s offices in order to keep an eye on the problem
                          employees;

                vi.       transferring Plaintiff Flynn to River Valley, a well-known punitive
                          assignment;

                vii.      denying Plaintiff Flynn lateral positions that would lead to career
                          advancement; and

                viii.     denying Plaintiff Flynn promotions to the felony division.

        65.     Defendant Will County and the Will County Public Defender’s Office knew or

should have known of such retaliation but took no action.

        66.     Defendant Will County and the Will County Public Defender’s Office conduct

toward Plaintiff Bembnister showed a willful and/or reckless disregard of Plaintiff's rights to

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employment free from impermissible retaliatory conduct.

       67.     All of the actions taken against Plaintiff Flynn by the Defendant Will County and

the Will County Public Defender’s Office, or those agents, servants and/or employees acting on

its behalf, and referred to herein, including those retaliatory adverse employment actions and the

approving and condoning of these actions, was and continues to be in retaliation for the exercise

and/or the attempted exercise of Plaintiff Flynn’s right to free speech and press, in violation of

the First Amendment, and/or because of Plaintiff's gender in violation of her due process and

equal protection rights under the Fourteenth Amendment.

       68.     Additionally, Defendant Will County and the Will County Public Defender’s

Office failed to implement any policy that it may purport to have to prevent and/or eliminate

impermissible retaliation for employees who complain about illegal sexual harassment and/or

retaliatory conduct at the Will County Public Defender’s Office.

       69.     The actions of the Defendants or those agents, servants and/or employees acting

on behalf of Will County and the Will County Public Defender’s Office, in failing to take any

immediate corrective action to prevent and/or prohibit instances impermissible retaliation against

Plaintiff Flynn for speaking out about sexual harassment and retaliatory adverse employment

actions, were carried out by sufficiently high ranking officials of Will County and the Will

County Public Defender’s Office, acting under the color of law, and by those who either

possessed or had been delegated final policymaking authority for Will County and the Will

County Public Defender’s Office, including, but not limited Defendant Astrella. As such, these

actions set forth herein constitute policy, custom or practice of Will County and the Will County

Public Defender’s Office.




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       70.     As a direct and proximate cause of Defendant Will County and the Will County’s

Public Defender’s Office systemic policy and/or custom of retaliation, Plaintiff Flynn has been

and continues to be deprived of her rights, privileges and/or immunities secured by the

Constitution and laws, including but not limited to the First and Fourteenth Amendments, in

violation of 42 U.S.C. §1983.

       71.     The aforementioned incidents created an intimidating, retaliating, and hostile and

offensive work environment for Plaintiff, by the Defendants, and therefore violated Plaintiff's

rights under the First and Fourteenth Amendments, in violation of 42 U.S.C. §1983.

       72.     The actions of Defendant Will County and the Will County Public Defender’s

Office in intentionally engaging in and condoning unlawful retaliatory adverse employment

actions against Plaintiff Flynn caused Plaintiff to suffer and continue to suffer from lost wages

and benefits from promotions and lost opportunities for career advancement and suffer, and

continues to suffer, from severe emotional distress, embarrassment, mental anguish and

humiliation.

       WHEREFORE, Plaintiff Flynn, respectfully prays that this Court enter an Order:

       (a)     Declaring the conduct of Defendant Will County and the Will County Public
               Defender’s Office, and its agents/employees as described herein, violated Plaintiff
               Flynn’s First and Fourteenth Amendment Rights of the United States
               Constitution and is in violation of §1983;

       (b)     Awarding Plaintiff Flynn compensatory damages;

       (c)     Awarding Plaintiff Flynn reasonable attorneys’ fees and costs; and

       (d)     Permanently enjoining and restraining Defendants from, in any manner:

                                i)   allowing and permitting violations of employees’
                                     First and Fourteenth Amendment rights in violation of
                                     §1983; and




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                                  ii)    retaliating against Plaintiff Flynn for complaining
                                         about violations of her First and Fourteenth Amendment
                                         rights.


                                              COUNT XII
                          Plaintiff Flynn v. Defendant Astrella (Individually)
                                          § 1983 – Retaliation

        1-63. Plaintiffs repeat and re-allege paragraphs 1-63 of the Complaint as if they are

fully set forth herein.

        64.     The aforementioned pattern and practice of retaliation and corresponding

deprivation of Plaintiff Flynn’s constitutional rights, as set forth herein, was directly caused and

intended by Defendant Astrella.

        65.     At all times relevant, Defendant Astrella acted under color of law and was

empowered with final policy making authority as it relates to the allegations set forth herein.

        66.     The actions of Defendant Astrella in intentionally engaging in and condoning

unlawful retaliation against Plaintiff Flynn for participating in the investigation of and

corroborating a report of sexual harassment and for filing Charges of Discrimination caused

Plaintiff suffer lost wages and benefits from promotions and lost opportunities for career

advancement and suffer, and continues to suffer, from severe emotional distress, embarrassment,

mental anguish and humiliation.

        67.     The actions set forth herein of the Defendant Astrella were intentional, willful and

malicious and/or in reckless disregard for Plaintiff’s rights as secured by 42 U.S.C. § 1983.

        WHEREFORE, Plaintiff Flynn, respectfully prays that this Court enter an Order:

        (a)     Declaring the conduct of Defendant Astrella as described herein, violated
                Plaintiff Flynn’s First and Fourteenth Amendment Rights of the United
                States Constitution and is in violation of §1983;

        (c)     Awarding Plaintiff Flynn compensatory and punitive damages;

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      (d)   Awarding Plaintiff Flynn reasonable attorneys’ fees and costs; and

      (e)   Permanently enjoining and restraining Defendants from, in any manner:

                          i)      allowing and permitting violations of employees’
                                  First and Fourteenth Amendment rights in violation of
                                  §1983; and

                          ii)     retaliating against Plaintiff Flynn for complaining
                                  about violations of her First and Fourteenth Amendment
                                  rights.




PLAINTIFFS DEMAND A TRIAL BY JURY

                                                 Respectfully Submitted,




                                                 s/Meredith W. Buckley
                                                 Meredith W. Buckley
                                                 Attorney for Plaintiffs


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